



                                                                    



IN THE COURT OF APPEALS, THIRD DISTRICT OF TEXAS,



AT AUSTIN




                       





NO. 3-91-164-CR




DAVID JOE PIERCE,


	APPELLANT



vs.





THE STATE OF TEXAS,



	APPELLEE


                       




FROM THE COUNTY COURT OF SAN SABA COUNTY



NO. 5054, HONORABLE HARLEN BARKER, JUDGE



                       




PER CURIAM


	This is an appeal from a conviction for driving while license suspended. 
Punishment was assessed at confinement for six months and a fine of $500.00.

	Appellant has filed a motion to withdraw the appeal.  No decision of this Court has
been delivered.  The motion is granted and the appeal is dismissed.  See Tex. R. App. P. Ann.
59(b) (Pamph. 1992).



[Before Chief Justice Carroll, Justices Aboussie and B. A. Smith]

Dismissed On Appellant's Motion

Filed:  April 8, 1992

[Do Not Publish]


